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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                       )
                                                )           4:11CR3093-2
                      Plaintiff,                )
                                                )
       vs.                                      )
                                                )           ORDER
MEGAN ELIZABETH MILLER,                         )
                                                )
                      Defendant.                )

       IT IS ORDERED that:

       (1)     The government’s request for hearing (filing no. 116) is granted.

        (2)    The hearing on the government’s motion for reduction of sentence pursuant to
Rule 35(b) (filing nos. 110 and 118) has been scheduled before the undersigned United States
district judge on Wednesday, July 31, 2013, at 11:30 a.m., in Courtroom No. 2, United States
Courthouse and Federal Building, 100 Centennial Mall North, Lincoln, Nebraska.

        (3)    At the request of the defendant through her counsel, the defendant will participate
in the hearing by telephone.

      (4)    Defense counsel shall make the telephone arrangements with the Bureau of
Prisons. Defense counsel shall then provide the undersigned’s chambers with the contact
information (including name and telephone number) of the Bureau of Prison’s official the
courtroom deputy should call the day and time of the hearing.

       (5)     The Marshal is directed not to return the defendant to the district.

       (6)     The defendant is held to have waived her right to be present.

       Dated July 18, 2013.

                                             BY THE COURT:
                                             Richard G. Kopf
                                             Senior United States District Judge
